Case 1:08-cr-00112-JRH-WLB Document 43 Filed 11/18/08 Page 1 of 4




                             IN THE UNTTED STATES DISTRICT COURT

                            FOR THE SOUTHERN DISTRICT OF GEORGL
                                                                                        8 p i 2: 50

                                         AUGUSTA DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
                       V.                            )      CR 108-1 12
                                                     )
 MARCUS TERRELL MILLER                               )


                 MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


                In the above-captioned criminal case, the government has accused Defendant Marcus

 Terrell Miller ("Miller") of one count of Possession of a Firearm and Ammunition by a

 Felon, in violation of 18 U.S.C. § 922(g)(1), 924(c), and 924(a)(2). (Doe. no. 1). The

 matter is now before the Court on Miller's motion to dismiss the indictment. (Doe. no. 22).

 The government opposes the motion. (Doe. no. 38). Now, for the reasons developed more

 fully herein, the Court REPORTS and RECOMMENDS that the motion to dismiss be

 p_fl * j i :

 I. BACKGROUND

                The felon in possession statute under which Miller has been charged in this case

 prohibits, inter alia, "any person who has been convicted in any court of, a crime punishable

 by imprisonment for a term exceeding one year" from shipping, possessing, or receiving a

 firearm or ammunition. 18 U.S.C. § 922(g)(1). Although the government has alleged in the

 Indictment that Miller has been previously convicted of at least three felony offenses,

 according to the government's disclosures, none of the prior offenses have been identified
Case 1:08-cr-00112-JRH-WLB Document 43 Filed 11/18/08 Page 2 of 4




 as violent. (). Miller summarizes the essence of the government's case against him as

 follows:

         [T]he government contends in this criminal action that the two defendants,
         both of whom have prior felony convictions, were occupants of a vehicle
         which contained one Dan Wesson, .357 caliber revolver, loaded with four
         rounds [of] Winchester .357 caliber ammunition and four rounds of Federal
         .357 caliber ammunition, and one Colt, model Challenger .22 caliber pistol,
         loaded with six rounds of Federal .22 caliber ammunition and three rounds
         of Remington .22 caliber ammunition.

 (Doe. no. 22, p. 1 (citing doc. no. 1, Indictment, pp. 1-3)). According to Miller, the

 government's case against him should be dismissed in light of the recent ruling of the United

 States Supreme Court in District of Columbia v. Heller, 128 S. Ct. 2783 (2008). Miller

 contends that because the Second Amendment's right to bear arms has been interpreted in

 Heller as an individual, rather than a collective, right, "there is no defensible reason, or any

 persuasive precedent explaining, why a person convicted of a nonviolent offense is

 categorically deprived of the 'right to bear arms' safeguarded by the Second Amendment"

 (Doc. no. 22, p. 3). Thus goes the argument, this prosecution impermissibly infringes on

 Miller's Second Amendment right to bear arms, and therefore the indictment should be

 dismissed.

 II.     DISCUSSION

         The Second Amendment states: "A well regulated Militia, being necessary to the

 security of a free State, the right of the people to keep and bear Arms, shall not be infringed."

U.S. Const. amend. II. In Heller, the Supreme Court ruled that the Second Amendment

secures to an individual the right to possess and use a firearm for lawful purposes when it

found that two District of Columbia statutes were unconstitutional to the extent that the they


                                                2
Case 1:08-cr-00112-JRH-WLB Document 43 Filed 11/18/08 Page 3 of 4




 banned handgun possession in the home and prohibited having an operable firearm in the

 home for the purpose of immediate self-defense. Heller, 128 S. Ct. at 282 1-22. However,

 in reaching its decision, the Supreme Court highlighted that "the right secured by the Second

 Amendment is not unlimited." jçj at 2816. In particular, the Supreme Court stated,

         [N]othing in our opinion should be taken to cast doubt on the longstanding
         prohibitions on the possession of firearms by felons and the mentally ill, or
         law forbidding the carrying of firearms in sensitive places such as schools and
         government buildings, or laws imposing conditions and qualifications on the
         commercial sale of arms.

 jçj at 2816-17. The Supreme Court also included a specific admonition that this list of

 "presumptively lawful regulatory measures" was offered merely by way of example and was

 not an exhaustive list. Id. at 2817 n.26.

         Contrary to Miller's argument in his motion to dismiss, the Supreme Court's ruling

 in Heller does not "underrnine[] the federal statutory prohibition on the possession of

 firearms by those who have never been convicted of a violent offense." (Doc. no. 22, pp. 2-

 3). In fact, every circuit court of appeals to consider challenges to the felon in possession

 statute since Heller was issued have rejected arguments like those now made by Miller.' $.

 United States v. Battle, No. 2:07-cr-307-MEF, 2008 WL 4571560, at *2 n.2 (M.D. Ala. Oct.




         1 To his credit, Miller acknowledges that post-Heller constitutional challenges to the
felon in possession statute have all been rejected, but he nonetheless "submits that these
courts are mistaken and have failed to give the Supreme Court's paradigm-shattering
decision the consideration and respect which it is due." (Doe. no. 22, p. 2). As discussed
herein, the Court concludes that it is Miller who is mistaken in his interpretation of Heller.

                                               3
Case 1:08-cr-00112-JRH-WLB Document 43 Filed 11/18/08 Page 4 of 4




 14,2008) (collecting cases). 2 The application of the Heller holding which Miller would have

 this Court employ is siniply not tenable, and his motion to dismiss should be denied.

 III. CONCLUSION

        For the reasons set forth above, the Court REPORTS and RECOMMENDS that the

 motion to dismiss be DENIED.

        SO REPORTED and RECOMMENDED thisjjt-day of November, 2008, at

 Augusta, Georgia.

                                                  L)
                                               W. LEON BflRHELD /)
                                                                          4O
                                               UNITED STATES MAG('tRATE JUDGE




        2Although the parties have not cited to, and the Court is not aware of, Eleventh
Circuit precedent on the issue, in this District, the Honorable B. Avant Edenfield, United
States District Judge, has rejected an analogous argument in denying a § 2255 motion. Judge
Edenfield denied relief to a petitioner who had been convicted of trafficking in stolen
firearms, in violation of 18 U.S.C. § 922(j). LaRoche v. United States, 2008 WL 4222081,
CV 407-054, doc. no. 8, adopted by doc. no. 18 (S.D. Ga. Sept. 15, 2008), appeal docketed,
No. 08-15420 (11th Cir. Sept. 24, 2008). After specifically acknowledging Heller but noting
the caveat discussed herein that longstanding prohibitions on possession, and qualifications
on sales, of firearms are not impacted by the ruling in Heller, Judge Edenfield concluded that
"reasonable and necessary limitations [on the purchase and possession of firearms] are
certainly constitutional." LaRoche, 2008 WL 4222081 at *2.

                                              4
